                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

ADAM BROWN, on Behalf of Himself §            NO. 1:23-CV-00374-DAE
and All Others Similarly Situated, §
                                   §
              Plaintiffs,          §
                                   §
vs.                                §
                                   §
LEARFIELD COMMUNICATIONS, §
LLC, SIDEARM SPORTS, LLC, THE §
UNIVERSITY OF TEXAS AT             §
AUSTIN, AND THE UNIVERSITY OF §
TEXAS AT AUSTIN ATHLETICS,         §
                                   §
              Defendants,          §
                                   §
United States of America           §
                                   §
               Intervenor.



         ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS

            On July 26, 2023, the Court granted University of Texas at Austin’s

(“UT”) Motion to Dismiss based on sovereign immunity. (Dkt. # 37.) The

remaining Defendants filed this Motion to Dismiss on September 6, 2023. (Dkt. #

39.) On September 20, 2023, the United States intervened to defend the

constitutionality of the Video Privacy Protection Act. (Dkt. # 42.) On October 4,

2024, Plaintiffs filed a response to the Motion to Dismiss. (Dkt. # 44.) On

November 1, 2023, Defendants replied. (Dkt. # 46.) The parties then periodically


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sent the Court supplemental authority whenever a new relevant VPPA decision

was issued anywhere in the country. (Dkt. # 48, 49, 51, 54, 55.) On January 19,

2024, the Court held a hearing on the matter. Following the hearing, the Court

ordered supplemental briefing on Saunders v. Hearst Television, Inc., a recent

decision on the Video Privacy Protection Act. No. 23-cv-10998-RGS, 2024 WL

126186 (D. Mass. Jan. 11, 2024). Both parties submitted their supplemental

briefings on January 23, 2024. (Dkt. # 58, 59.) Upon careful consideration of the

arguments asserted in the filings—as well as the arguments presented at the

hearing—the Court GRANTS Defendants’ Motion to Dismiss without prejudice.

(Dkt. # 39.)

                                 BACKGROUND

               Learfield Communications, LLC and Sidearm Sports, LLC

(“Defendants”) operate websites for schools and universities including the Texas

Longhorns Website (“Team Website” or “Longhorns Website”). Defendants invite

visitors on the Team Website to subscribe to emailed newsletters. (Dkt. # 1 at ¶¶

31-32.) The visitors allegedly provide their personally identifiable information

(“PII”) in exchange for email newsletters, which highlight content from the Team

Website and redirect subscribers to the Team Website’s videos and articles. (Id. at

¶ 3).




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               Learfield added Facebook’s “Pixel” software on the Longhorns

Website. (Dkt. # 1 at ¶ 69.) The Pixel enables Facebook to track its users’ activity

on other websites. (Id. at ¶ 79.) When a user logs into Facebook, Facebook

generates a “c_user” cookie and stores it on the user’s device. (Id. at ¶ 76.) That

cookie “contains a user’s nonencrypted Facebook User ID number (‘UID’).” (Id.)

Then, if that user interacts with the Longhorns Website, the site sends Facebook

metadata that “may” include a video title and a c_user cookie if one is in place on

the user’s device. (Id. at ¶ 84.) If someone can access the metadata and find the

c_user ID, he can append the c_user ID to a URL (www.facebook.com/[UID here])

to reach the corresponding Facebook profile. (Id. at ¶ 77.)

               Brown is one of many subscribers to a Texas Longhorns newsletter

operated by Defendants (the “Longhorns Website”)1 that provides users with

access to videos, clips, and other content related to the university’s athletics. (Id.

at ¶ 15.) Brown alleges that the Longhorns Website does not disclose that

subscribers’ personal identifying information (“PII”) will be captured by the site’s

Facebook Pixel and then transferred to Facebook, purportedly exposing the

subscribers’ PII to “any person of ordinary technical skill who received that data.”

(Id. at ¶ 4.) Brown contends that co-defendants Sidearm Sports, LLC and

Learfield Communications, LLC purposefully implanted the Pixel in order to


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    The website is located at https://texassports.com/.

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gather marketing data, and that such acts constitute a violation of the Video

Privacy Protection Act (“VPPA”). (Id. at ¶ 9.) Brown alleges Defendants chose

not to seek requisite consent, or any form of consent for that matter. (Id. at ¶ 10.)

Brown filed the instant class action lawsuit on April 3, 2023. (Dkt. # 1.)

                                 LEGAL STANDARD

             Rule 12(b)(1), under which Defendants raise its claim of sovereign

immunity, governs dismissal for lack of subject matter jurisdiction. See F.D.I.C. v.

Meyer, 510 U.S. 471, 475 (1994) (“Sovereign immunity is jurisdictional in

nature.”). In ruling on a motion to dismiss under Rule 12(b)(1), the court may rely

on: “(1) the complaint alone; (2) the complaint supplemented by undisputed facts;

or (3) the complaint supplemented by undisputed facts and the court’s resolution of

disputed facts.” MCG, Inc. v. Great W. Energy Corp., 896 F.2d 170, 176 (5th Cir.

1990). Any dismissal under Rule 12(b)(1) on the basis of Eleventh Amendment

sovereign immunity must be without prejudice. Warnock v. Pecos Cty., Tex., 88

F.3d 341, 343 (5th Cir. 1996).

             Federal Rule of Civil Procedure 12(b)(6) authorizes dismissal of a

complaint for “failure to state a claim upon which relief can be granted.” In

analyzing a motion to dismiss for failure to state a claim, the court “accept[s] ‘all

well pleaded facts as true, viewing them in the light most favorable to the

plaintiff.’” United States ex rel. Vavra v. Kellogg Brown & Root, Inc., 727 F.3d


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343, 346 (5th Cir. 2013) (quoting In re Katrina Canal Breaches Litig., 495 F.3d

191, 205 (5th Cir. 2007)).

                 To survive a Rule 12(b)(6) motion to dismiss, the plaintiff must plead

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). But “the tenet that a court must accept as true all

of the allegations contained in a complaint is inapplicable to legal conclusions.”

Id.

                 Pursuant to Federal Rule of Civil Procedure 12(b)(7), failure to join a

necessary party is grounds for dismissal. Federal Rule of Civil Procedure 19(a)

provides that a party is necessary if: “(A) in that person’s absence, the court cannot

accord complete relief among existing parties; or (B) that person claims an interest

relating to the subject of the action and is so situated that disposing of the action in

the person's absence may: (1) as a practical matter impair or impede the person’s

ability to protect the interest; or (2) leave an existing party subject to a substantial

risk of incurring double, multiple, or otherwise inconsistent obligations because of

the interest.”




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             Rule 19(b) further provides, “[i]f a person who is required to be joined

if feasible cannot be joined, the court must determine whether, in equity and good

conscience, the action should proceed among the existing parties or should be

dismissed.” The factors to consider include: “(1) the extent to which a judgment

rendered in the person’s absence might prejudice that person or the existing

parties; (2) the extent to which any prejudice could be lessened or avoided by: (A)

protective provisions in the judgment; (B) shaping the relief; or (C) other

measures; (3) whether a judgment rendered in the person’s absence would be

adequate; and (4) whether the plaintiff would have an adequate remedy if the

action were dismissed for nonjoinder.” Fed. R. Civ. P. 19.

                                   DISCUSSION

   I.    Defendants do not possess sovereign immunity.
             The Eleventh Amendment commands that “[t]he judicial power of the

United States shall not be construed to extend to any suit in law or in equity,

commenced or prosecuted against one of the United States[.]” U.S. Const. amend.

XI. In other words, federal suits against a state or state agency are generally

barred. See Moore v. La. Bd. Of Elementary and Secondary Educ., 743 F.3d 959,

963 (5th Cir. 2014).

             When confronted with an entity asserting Eleventh Amendment

immunity as an arm of the state, the Court applies the test established in Clark v.



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Tarrant County, 798 F.2d 736 (5th Cir. 1986). A proper inquiry under Clark

considers six factors:

       (1) whether the state statutes and case law characterize the agency as
      an arm of the state;
      (2) the source of funds for the entity;
      (3) the degree of local autonomy the entity enjoys;
      (4) whether the entity is concerned primarily with local, as opposed to
      statewide, problems;
      (5) whether the entity has authority to sue and be sued in its own
      name; and
      (6) whether the entity has the right to hold and use property.

Anderson v. Red Riv. Waterway Comm'n, 231 F.3d 211, 214 (5th Cir. 2000).

None of the six factors is dispositive. “Rather than forming a precise test, [the

Clark ] factors help us balance the equities and determine as a general matter

‘whether the suit is in reality a suit against the state itself.’” Laje v. R.E.

Thomason Gen. Hosp., 665 F.2d 724, 727 (5th Cir. 1982); Williams v. Dallas Area

Rapid Transit, 242 F.3d 315, 319 (5th Cir. 2001).

             Applying these factors, the Court finds that Defendants Learfield

Communications, LLC and Sidearm Sports, LLC are not an arm of the State.

Government contractors are not blanketly immune as if they were a state. Clark,

798 F.2d at 744–45. The first factor considered in Clark favors Plaintiffs in that

Defendants cannot cite any Texas law or regulation that considers them to be an

arm of the state. Id.




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               Most importantly, Defendants are not controlled or funded by the

State; in fact, they have full operational control of the team websites. Id. (Dkt. #

56 at ¶ 52.) Defendants use their own code to track users, including the Pixel.

(Id.) Moreover, Defendants generate their own revenue through advertising on

their websites. (Id.)

               While Defendants say that any damages awarded against them would

require money to be paid jointly by the state and Learfield, it does not explain why

that would be. (Dkt. # 39 at 3.) Based on these facts, the Court concludes that

Defendants are not immune.

      II.   The claims do not fail because Brown failed to join a party.

               Defendants next argue that UT is indispensable party that cannot be

joined; therefore, the claims must be dismissed.

                Defendants have the burden of showing that UT is indispensable to

this action or must be joined. U.S. v. Rutherford Oil Corp., 2009 U.S. Dist. LEXIS

40233, at *8 (S.D. Tex. May 13, 2009).

               Defendants first argue that UT is necessary “because Plaintiffs’ claims

concern allegedly concerted conduct” by all Defendants—thus inhibiting the court

from “accord[ing] complete relief” and subjecting Learfield to “a substantial risk

of incurring double, multiple, or otherwise inconsistent obligations.” (Dkt. # 39 at

4.)


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             This argument is not persuasive because it has long been the rule that

“it is not necessary for all joint tortfeasors to be named as defendants in a single

lawsuit.” Temple v. Synthes Corp., 498 U.S. 5, 7 (1990).

             Defendants next argue that allowing the action to proceed without UT

risks impairing its interest in the website. (Dkt. # 39 at 4.) That is not persuasive

either. Plaintiffs challenge the Longhorns Website’s use of Facebook’s Pixel.

Defendants do not explain how or why UT has an interest in the continued use of

Pixel, or any interest in the data it collects. Nor do Defendants explain how

judgment against it would undermine UT’s interest in anything. This is unlike the

cases Defendants cite, in which the property of a nonparty could be impacted. See

Lee v. Anthony Lawrence Collection, LLC, 47 F.4th 262, 269 (5th Cir. 2022), cert.

denied, 143 S. Ct. 1054 (2023) (involving another party’s “battle of ownership” of

a trademark). UT does not purport to have ownership interest or control over the

Pixel or the data it collects. In short, Defendants have not shown that the Court

should dismiss based on the unavailability of any indispensable party.

   III.   Plaintiffs fail to plausibly plead a VPPA claim under Rule 12(b)(6)

             Congress enacted the Video Privacy Protection Act (“VPPA”) in

response to a profile of then-Supreme Court nominee Judge Robert H. Bork that

was published by a Washington, D.C. newspaper during his confirmation hearings.

S. Rep. No. 100–599, at 5 (1988), reprinted in 1988 U.S.C.C.A.N. 4342–1. The


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profile contained a list of 146 films that Judge Bork and his family had rented from

a video store. Id. Members of Congress denounced the disclosure as repugnant to

the right of privacy. Id. at 5–8. Congress then passed the VPPA “[t]o preserve

personal privacy with respect to the rental, purchase or delivery of video tapes or

similar audio visual materials.” Id. at 1.

             To effectuate this purpose, Congress in the VPPA created a civil

remedy against a “video tape service provider” for “knowingly disclos[ing], to any

person, personally identifiable information concerning any consumer of such

provider.” 18 U.S.C. § 2710(b)(1).

             To state a claim under the VPPA, plaintiff must allege that defendant

(1) is a video tape service provider; (2) who knowingly disclosed to any person; (3)

personally identifiable information; (4) concerning any consumer. See 18 U.S.C.

2710(b)(1). A “video tape service provider” is defined as “any person, engaged in

the business, in or affecting interstate or foreign commerce, of rental, sale, or

delivery of prerecorded video cassette tapes or similar audio visual materials.” 18

U.S.C. § 2710(a)(4). “Personally identifiable information” is defined as

“information which identifies a person as having requested or obtained specific

video materials or services from a video tape service provider.” 18 U.S.C.

2710(a)(3) (emphasis added). Finally, a “consumer” is defined as “any renter,




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purchaser, or subscriber of goods or services from a video tape service provider.”

18 U.S.C. § 2710(a)(1).

             Defendants argue that Plaintiffs have failed to state a claim upon

which relief can be granted. Defendants maintain that Plaintiffs’ claims fail

because (1) Plaintiffs are not “consumer[s]” protected by the VPPA, (2)

Defendants are not “video tape service provider[s],” and (3) Plaintiffs do not allege

a knowing disclosure of personally identifiable information. Defendants separately

challenge the constitutionality of the VPPA.

         A. Plaintiffs have not plausibly alleged that they are consumers.

             To date, the Court is aware of two almost identical VPPA

adjudications against Defendants. See Edwards v. Learfield Communications et al.,

No. 1:23-cv-65, 2023 WL 8544765 (N.D. Fla. Oct. 6, 2023); Peterson v. Learfield

Communications LLC, et al., No. 8:23-cv-146, 2023 WL 9106244 (D. Neb. Dec. 8,

2023). These cases involve Defendants’ management of websites for the

University of Florida and University of Nebraska-Lincoln. In each case, the court

held that Plaintiffs failed to allege that they were consumers under the VPPA.

             As the third court to decide this issue, the undersigned recognizes the

importance of having consistent outcomes across the federal judiciary and is wary

of disturbing even the non-binding precedent set forth in each case. Mast. Foos &

Co. v. Stover Manufacturing Co., 177 U.S. 485, 488 (“Comity is not a rule of law,


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but one of practice, convenience, and expediency. It is something more than mere

courtesy, which implies only deference to the opinion of others, since it has a

substantial value in securing uniformity of decision and discouraging repeated

litigation of the same question.”) Both the Northern District of Florida and the

District of Nebraska thoughtfully and thoroughly interpreted the meaning of

“consumer” under the VPPA. While the undersigned ultimately comes to the same

conclusion as those district courts, its analysis somewhat differs.

             In order to state a claim, Plaintiffs must plead they are consumers

under the VPPA. Neither party asserts that Plaintiffs are “renters” or “purchasers,”

but they instead focus on whether Plaintiffs qualify as a “subscribers.” (Dkt. # 39

at 7).

             To begin, the VPPA does not state what it means to be a “subscriber

of goods or services from a video tape service provider.” See generally, 18 U.S.C.

§ 2710.

             Courts have reached differing definitions of what it means to

“subscribe” within the meaning of the VPPA. On the one hand, the Eleventh

Circuit held that a plaintiff who merely downloaded an app to watch video clips

was not a “subscriber” within the meaning of the VPPA, reasoning that

“‘subscription’ involves some type of commitment, relationship, or association

(financial or otherwise) between a person and an entity,” such as “payment,


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registration, commitment, delivery, expressed association, and/or access to

restricted content.” Ellis v. Cartoon Network, Inc., 803 F.3d 1251, 1256 (11th Cir.

2015) (citation omitted). In Ellis, the court stated that a person who “is free to

delete the app without consequences whenever he likes, and never access its

content again” is not a subscriber under the VPPA, noting that “downloading [ ] an

app, we think, is the equivalent of adding a particular website to one’s Internet

browser as a favorite, allowing quicker access to the website’s content.” Id. at

1257. However, the Ellis court stated that “payment is not a necessary element of

subscription.” Id. at 1256

             On the other hand, the First Circuit appears to require only

consideration from the alleged subscriber in the form of providing personal

information. Yershov v. Gannett Satellite Info. Network, Inc., 820 F.3d 482, 487

(1st Cir. 2016). The First Circuit held that merely providing some personal

identifying information could constitute the “consideration” necessary for a

“subscription.” Id.

             The main disagreement between the Eleventh Circuit and the First

Circuit regards the type of consideration required for a user to be considered a

“subscriber” within the meaning of the VPPA: the Eleventh Circuit requires

“payment, registration, commitment, delivery, [ ] or access to restricted content,”

which appears to preclude the possibility that mere provision of personal


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information could serve as consideration, Ellis, 803 F.3d at 1256, whereas the First

Circuit has held that there could be “consideration in the form of [personal]

information,” Yershov, 820 F.3d at 489. As the District of Nebraska surveyed,

“Both courts require some exchange of ‘consideration’ between the alleged

‘subscriber’ and the video tape service provider, see Yershov, 820 F.3d at 489, but

neither requires the ‘subscriber’ to provide monetary consideration. See Ellis, 803

F.3d at 1256; Peterson v. Learfield Communications LLC, et al., No. 8:23-cv-146

(D. Neb. Dec. 8, 2023)

             With that background, the Court now turns to how the Nebraska

District Court and Northern District of Florida interpreted the word “subscriber” in

cases nearly identical to the one at hand.

             In Peterson v. Learfield Communications LLC, et al., the Nebraska

District Court used Black’s Law Dictionary which defines “subscribe,” in relevant

part, as “to agree in writing to furnish money or its Equivalent.” No. 8:23-cv-146,

2023 WL 9106244 at *14 (D. Neb. Dec. 8, 2023). The court then found that in

1988, when Congress passed the VPPA, Plaintiff’s exchange of personal

information for email updates from Defendants—was likely not considered a

“subscription.” Id. at *16. The court held that in 1988, a “subscription” was

commonly understood to mean “the right to receive a periodical for a sum paid,

usually for an agreed number of issues.” Id. (citing Random House Dictionary


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1896 (2nd ed. 1987)). Therefore, Plaintiff’s mere exchange of personal

information and occasional clicks on links contained in the newsletters to videos

on the Team Website did not suffice to make Plaintiff a “subscriber.” Id. at *17.

             While the Court ultimately concurs with the Nebraska District Court,

it does not fully agree with its interpretation of the law. For one, the Nebraska

District Court assumes that “subscription” has a new modern meaning. See

Peterson, 2023 WL 9106244 at * 16 (“the word ‘subscription’ in modern parlance

has taken on a new meaning … The tests employed by the First Circuit and the

Eleventh Circuit may be more consistent with ‘modern’ definition of ‘subscriber.’)

The Nebraska District Court seems to believe that the gathering of data as a source

of monetary value is a 21st century phenomenon that did not exist at the time the

statute was enacted. The reality is that free periodicals with alternative revenue

streams existed at the time the VPPA was enacted. For instance, “Special Reports”

by Whittle Communications Inc, sought to be the exclusive magazine for waiting

rooms in 15,000 doctors’ offices in 125 major markets. Whittle relied on

advertisers to pay $1.2 million per page in each quarterly issue. Doctors, who

spent hundreds of dollars on magazine subscriptions, could pay zero depending on

its agreement with Whittle. See Eleanor R, The Doctor’s Subscriptions, WASH.

POST. (March 11, 1988),

https://www.washingtonpost.com/archive/lifestyle/1988/03/11/the-doctors-


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subscriptions/b178657f-63fe-43b6-926b-f595102df24c/. Local branches of

PennySaver were also circulated to millions of Americans for free by relying on

advertising revenue and affiliating with free community papers to provide

neighborhood discounts and coupons. See Our History, WARSAW PENNY SAVER,

https://www.warsawpennysaver.com/aboutus (last visited Jan. 15, 2024). It is true

that these examples are not quite comparable to today’s media market. Moreover,

the Court does not deny that today’s media market varies from the pre-internet era.

However, the existence of alternative revenue streams should caution courts in

projecting a narrow view of what legislators might have intended. Whether or not

consumers paid, advertising revenue has always relied on the number of eyeballs

who subscribe, sign up, or read content. In fact, the existence of alternative

business models foreshadows the media market of today.

              The Court also notes that the District of Nebraska’s opinion adopted

one dictionary definition of “subscribe” but disregarded others. Indeed, as the First

Circuit noted, the definition of “subscribe,” as Merriam–Webster provides is “to

enter one’s name for a publication or service.” Yershov, 820 F.3d at 487. The First

Circuit conceded that some dictionary definitions require payment, but not all of

them. Yershov, 820 F.3d 482, 487. Because there are multiple definitions of

“subscribe,” this Court does not rest its decision solely on the literal dictionary

definition.


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                This Court believes that imposing a monetary requirement fails to

account for the way society now, and at the time of enactment, would have

interpreted “subscriber.” A textual analysis must account for a real world

understanding of what it means to be a subscriber. See Bostock v. Clayton County,

140 S. Ct. 1731 (2020) (Kavanaugh, J., dissenting) (“As Justice Scalia explained,

‘the good textualist is not a literalist.’ Or as Professor Eskridge stated: The ‘prime

directive in statutory interpretation is to apply the meaning that a reasonable reader

would derive from the text of the law…’”) (internal citations omitted). When a

website asks a user to “subscribe” to a newsletter, it is logical for courts to call the

person who signs up a subscriber. To find otherwise, discounts the intensions of

both parties.

                Lastly, imposing a monetary payment requirement disregards the

VPPA’s purpose to protect privacy. By limiting the scope of what it means to be a

subscriber, the VPPA’s application in today’s current media market would leave

consumer privacy unprotected in a large swath of cases. Neither consumers of

today nor media corporations who provide both news and video would endorse

such a limited reading of the word “subscriber.” The ordinary meaning of

“subscribe” accounts for users who sign up to receive content, whether or not the

consumer pays. This is because the business model revolves around eyeballs,

advertising revenue, and data collection, rather than solely monthly fees.


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             In another almost identical case filed against Defendants and the

University of Florida, the court concluded that plaintiffs failed to state a claim

because they were not consumers under the VPPA. Rather than relying on

originalism, the Northern District of Florida Court weighed a series of factors

identified in Ellis v. Cartoon Network, Inc., 803 F.3d 1251 (11th Cir. 2015).

Factors that may show a subscription include “payment, registration, commitment,

delivery, expressed association, and[] access to restricted content.” Id. at 1256

(cleaned up).

             This court concurs with the ultimate result of the Northern District of

Florida. Moreover, the Court agrees that under the Ellis factors, the Northern

District of Florida Court came to the correct conclusion. However, this Court

offers another rationale as to why Plaintiffs are not subscribers under the VPPA.

             In Ellis, the Eleventh Circuit found that downloading an app for free

and using it to view [video] content at no cost is not enough to make a user of the

app a ‘subscriber.’” 803 F.3d at 1257. It was not enough to become a subscriber

because it involved no durable commitment, and the user was free to delete the app

without consequences. Id. Applying Ellis, the Northern District of Florida found

that signing up for email updates did not make them “subscribers” because it did

not involve a durable commitment. Edwards, No. 1:23-CV-65-AW-MAF, 2023

WL 8544765, at *6. Of import, plaintiffs did not allege they signed up for an


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account, the emails were free, and they could opt out without consequence. Id.

Plaintiffs did not allege they got “any real benefit in exchange” from signing up

because the newsletter was not exclusive content. Id. Therefore, under the Ellis

factors, the court found that plaintiffs were not subscribers.

             Rather than relying on the Ellis factors alone (which the Court

believes is an independent and adequate ground to resolve the case) or pure

originalism, this Court adopts an alternative reasoning.

             Defendants cite a litany of persuasive cases nationwide that cabin the

definition of consumer by reading the statute in its full context. On these grounds,

the Court finds that Plaintiffs failed to plead that they were consumers under the

VPPA.

             As stated in Carter v. Scripps Networks, LLC, No. 22-cv-2031 (PKC),

2023 WL 3061858, at *6 (S.D.N.Y. Apr. 24, 2023), “[t]he scope of a ‘consumer,’

when read with sections 2710(b)(1) and (a)(4), and the definition of ‘video tape

service provider,’ . . . a reasonable reader would understand the definition of

‘consumer’ to apply to a renter, purchaser or subscriber of audio-visual goods or

services, and not goods or services writ large.” Id. at *6.

             The Carter court considered how the term “subscriber” is

contextualized within the statute. Importantly, the definition of “consumer” relied

on the key phrase “video tape service provider.” In addition, the liability clause of


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the VPPA also used the term “video tape service provider.” See 18 U.S.C. §

2710(b)(1) (“[A] video tape service provider who knowingly discloses, to any

person, personally identifiable information concerning any consumer of such

provider shall be liable to the aggrieved person ....”). And a “video tape service

provider” is defined under the VPPA as “any person, engaged in the business, in or

affecting interstate or foreign commerce, of rental, sale, or delivery of prerecorded

video cassette tapes or similar audio visual materials ....” 18 U.S.C. § 2710(a)(4)

(emphasis added). Therefore, the Carter court held a consumer under the VPPA –

and necessarily, a “renter, purchaser, or subscriber” under the VPPA – consumes

(or rents, purchases, or subscribes to) audio visual materials, not just any products

or services from a video tape services provider.

             The 1988 Senate Report noted that the definition of personal

identifiable information in Section 2710(a)(3) is drafted “to make clear that simply

because a business is engaged in the sale or rental of video materials or services

does not mean that all of its products or services are within the scope of the bill.

For example, a department store that sells video tapes would be required to extend

privacy protection to only those transactions involving the purchase of video tapes

and not other products.” Senate Report 100-599, at 12.

             This supports the Court's interpretation that the VPPA only applies to

consumers (including subscribers) of audio video services.


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             Based on Carter, courts have dismissed VPPA claims when the

plaintiff has subscribed to a newsletter. For example, in Salazar v. National

Basketball Ass’n, the court held that a “consumer under the VPPA . . . consumes

(or rents, purchases, or subscribes to) audio visual materials, not just any products

or services from a video tape services provider.” No. 1:22-cv-07935, 2023 WL

5016968, at *8-10 (S.D.N.Y. Aug. 7, 2023). Therefore, “[b]ecause Plaintiff does

not allege that his newsletter subscription allowed him access to the videos on the

NBA.com site that any member of the public would not otherwise have, Plaintiff

has alleged that he was a “subscriber[ ] to newsletters, not [a] subscriber[] to audio

visual materials.” Id. The court further held that, “[e]ven if the Complaint did

allege that the newsletter contained links to videos on the NBA.com website as

Plaintiff asserts in a supplemental letter . . . links to video content which is

generally accessible on the NBA.com website are insufficient to create a

subscribership relationship (or exchange of value) vis-à-vis video services given

the lack of allegations regarding exclusive content or enhanced access.” Id.; see

also Gardener v. MeTV, No. 22CV5963, 2023 WL 4365901 (N.D. Ill. Jul. 6, 2023)

(relying on Carter to find that plaintiff was not a consumer where the allegations

that plaintiffs “opened an account separate and apart from viewing video content

on MeTV’s website” was insufficient to render them “subscribers” under the Act.);

Jefferson v. Healthline Media, Inc., No. 3:22-CV-05059-JD, 2023 WL 3668522, at


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*3 (N.D. Cal. May 24, 2023) (allegations that plaintiff entered her name and email

address to “subscribe to Healthline’s email list” did not make plaintiff a consumer

because “the VPPA limits its scope to subscribers of ‘goods or services’ from a

video tape service provider”).

             Plaintiffs argue that Carter and its progeny misinterpret the VPPA.

They assert the plain text of the VPPA defines “consumer” to mean “any renter,

purchaser, or subscriber of goods or services from a video tape service provider.”

18 U.S.C. § 2710(a)(1). Plaintiffs believe Carter impermissibly narrowed this

definition, holding that a consumer is a person who subscribes to goods or services

constituting “audio visual materials.” Essentially, the Carter court read “goods and

services” in the plain text of the statute to mean “audio visual materials.” Plaintiffs

ask this Court to read the statute liberally and to encompass “all parts of the

economic output of society.” Lebakken v. WEBMD, LLC, 2022 U.S. Dist. LEXIS

201010, at *8 (N.D. Ga. Nov. 4, 2022).

             Plaintiffs’ position, however, has been disfavored as of late. A

growing body of case law continues to adopt Carter. See e.g., Tawam v. Feld Ent.

Inc., No. 23-CV-357-WQH-JLB, 2023 WL 5599007 at *5 (S.D. Cal. July 28,

2023) (“Plaintiffs signed up for an email mailing list provided by Defendant and

separately viewed videos on Defendant's website. These allegations are not

sufficient to plausibly support the existence of a nexus between the alleged


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subscription and the video content at issue.”). Ultimately, this Court agrees with

the trend of courts adopting a narrow definition of the VPPA. It only makes sense

that in the context of the law and its purpose that the alleged subscription be related

to audio visual content. Even some of the cases that Plaintiffs cite are not

persuasive. For instance, in Harris v. Pub. Broad. Serv., the Northern District of

Georgia did not have to decide on whether goods or services had to be related to

video because Plaintiff adequately alleged a subscription to Defendant’s video

services. Specifically, she alleged “[a]fter becoming a digital subscriber, viewers

have access to a variety of Pbs.[org]’s Video and Audio Media on Defendant’s

digital platform.” No. 1:22-cv-2456, 2023 WL 2583118 at *10 (N.D. Ga. Mar. 20,

2023).

             Plaintiffs’ other attempts to distinguish the present matter from Carter

are not persuasive. Upon an order for supplemental briefing, both parties

thoroughly briefed Saunders v. Hearst Television, Inc., No. 23-cv-10998-RGS,

2024 WL 126186 (D. Mass. Jan. 11, 2024) and Li v. Georges Media Group LLC,

No. 23-1117, 2023 WL 7280519 (E.D. La. Nov. 3, 2023).

             In Hearst, the court followed the First Circuit’s approach by reading

the definition of video service provider and consumer expansively. The Court

found that to keep up with the reality of our times, the VPPA should include

Internet video streamers, not just physical media. Hearst, 2024 WL 126186, at *6.


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The Hearst court found that providing an “email address to the . . . app and . . .

enable[ing] geolocation services and push notifications” were “adequate

consideration to use Hearst’s apps to obtain subscriber status under the VPPA.” Id.

at *7.

              In Hearst, plaintiffs alleged that Hearst was a “television station.”

Plaintiffs downloaded an app in which videos were readily available and embedded

into the content. As the Hearst court noted, the videos were viewed and the data

was transferred only when the video was seen on the app. Id. at *3. In this case, it

is not pleaded that the videos were watched by virtue of Plaintiffs signing up for

the e-newsletter. In fact, those videos were accessible whether or not Plaintiffs

subscribed to the newsletter at all.

             In this case, Plaintiffs fail to allege a factual nexus or relationship

between the subscription (i.e., Website benefits) and the Defendants’ allegedly

actionable video content. See e.g., Gardener v. MeTV, No. 22 CV 5963, 2023 WL

4365901, at *4 (N.D. Ill. July 6, 2023) (“The Court does not agree, however, with

Plaintiffs' argument that the allegations that [they] opened an account separate and

apart from viewing video content on MeTV's website is sufficient to render them

‘subscribers’ under the Act.”); see also Carter, 2023 WL 3061858, at *6 (stating

that “a customer's non-video transactions play no part in a defendant's liability




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under the VPPA”); Kuzenski v. Uproxx LLC, No. 223CV00945WLHAGR, 2023

WL 8251590, at *1 (C.D. Cal. Nov. 27, 2023).

             In the case at hand, Plaintiffs do not allege that the videos are in the

newsletter. Rather the newsletter links to videos on the website which the public

can access without signing up for the newsletter. (Dkt. # 1 at ¶ 3.) The Complaint

does not include facts that plausibly allege that their status as newsletter

subscribers was a condition to accessing the site's videos, or that it enhanced or in

any way affected their viewing experience.

             The fact that the newsletter solely contains links to videos is not

dispositive of the case. As Plaintiffs’ counsel made clear at oral argument, it is

custom for newsletters to simply attach a link to be transferred to a video webpage.

However, the link in this case does not direct the subscriber to any exclusive

content behind a paywall that is only accessible because the user provides valuable

data in exchange for a subscription. The link transfers to an open domain that can

be accessed by anyone whether or not they subscribe to the newsletter. This makes

the present matter distinguishable from Li, in which the Eastern District of

Louisiana courts’ brief analysis noted that plaintiffs had exclusive access behind a

paywall to watch pre-recorded videos. Li v. Georges Media Grp. LLC, No. CV

23-1117, 2023 WL 7280519, at *3 (E.D. La. Nov. 3, 2023).




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             In this case, there is no allegation that a user must log in to watch the

video, and Plaintiff does not allege that the video content he accessed was

exclusive to a subscribership. Plaintiffs were subscribers to newsletters, not

subscribers to audio visual materials.

             As the Nebraska District Court rightfully noted, this suggests how a

newsletter oddly fits within the statute of the VPPA:

      “this case illustrates the uncomfortable fit of the VPPA to free video
      streaming services. If Plaintiff accessed free videos on the Team
      Website by simply typing ‘huskers.com’ into his web browser, he
      would undoubtedly not be a ‘renter, purchaser, or subscriber of goods
      or services,’ meaning he and members of his class would have no
      VPPA claim for having his PII allegedly disclosed to Facebook.
      However, because Plaintiff ‘subscribes’ (in a modern sense
      unforeseen by the statute) to a free newsletter that contains links to
      these free videos, which anyone can freely access on the Team
      Website without first subscribing to the newsletter, Plaintiff argues
      that he and all other newsletter subscribers are entitled to relief under
      the VPPA, including not less than $2,500 in liquidated damages to
      each class member and injunctive relief. That argument fails not only
      as a matter of statutory interpretation but also as a matter of common
      sense.”

Peterson, 2023 WL 9106244 at *19. The current action presents the same

uncomfortable fit that the Nebraska District Court recently described. For this

reason, the Court finds Plaintiffs are not a consumers under the statute.

             Before concluding, there is no denying that the First Circuit’s opinion

in Yershov v. Gannett Satellite Info. Network, Inc., could lead to an alternative

result. 820 F.3d 482, 485 (1st Cir. 2016). Both the Nebraska District Court and


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Northern District of Florida Court similarly had trouble distinguishing itself from

Yershov. However, the First Circuit in Yershov did not address the argument of

whether a subscriber had to subscribe to the audio-visual content. Therefore, the

Court’s rationale least disrupts the First Circuit’s approach. The Court also notes

the more recent approach taken by federal courts across the country since the First

Circuit decided Yershov.

             There is clearly a Circuit split on this issue and a great deal of

inconsistency throughout the federal courts. Indeed, this inconsistency poses

consequences to personal privacy in the era of rapid accumulation of data by tech

companies. As such, clarity from Congress would be prudent and go a long way in

providing courts with a more definite understanding of whether e-newsletters that

simply link to publicly accessible videos fall under the VPPA.

             Due to the circuit split, the Court emphasizes its opinion should not be

construed to mean that all newsletters are exempt from the VPPA. This Court does

not foreclose the possibility of the VPPA applying to the reality of our times that

most video is consumed through Internet streaming. The Court recognizes that

Learfield’s websites stream video. The Court is deciding the case under the facts

presented here that the subscriber of this particular newsletter was not signing up

for audio-visual content.




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             Therefore, the Court dismisses the claims for failure to state a claim

under Rule 12(b)(6). As the Nebraska District Court and Northern District of

Florida did, this Court reaches its conclusion without having to resolve whether

Defendants are not “video tape service provider[s],” and whether defendants

knowingly disclosed personally identifiable information.

   IV.   Judicial restraint requires the court to avoid deciding whether the VPPA
         unconstitutionally restricts free speech.

             The Court need not resolve whether the VPPA unconstitutionally

restricts free speech. Cf. Camreta v. Greene, 563 U.S. 692, 705 (2011) (noting a

“longstanding principle of judicial restraint requires that courts avoid reaching

constitutional questions in advance of the necessity of deciding them”) (quoting

Lyng v. Northwest Indian Cemetery Protective Assn., 485 U.S. 439, 445 (1988)).

                                  CONCLUSION

            For the foregoing reasons, the Court GRANTS Defendants’ Motion to
Dismiss without prejudice.


             IT IS SO ORDERED.

             DATED: Austin, Texas, January 29, 2024.

                                                     _________________________
                                                     David Alan Ezra
                                                     Senior U.S. District Judge




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